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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                   §
                                            §         No. 6:17CR39
 v.                                         §
                                            §
 EDUARDO PINEDA (01)                        §

                                   ELEMENTS OF THE OFFENSE

        COMES NOW, the United States of America, by and through the United States

Attorney for the Eastern District of Texas, and files this pleading summarizing the

elements of the offenses to which the defendant intends to enter pleas of guilty to Counts

1 - 3 of the information:

        Count 1

        Title 21, United States Code, Section 841(a)(1), makes it a crime for anyone to

knowingly or intentionally to manufacture or to possess a controlled substance with intent

to manufacture or distribute it.

        To establish that the defendant is guilty of Manufacture and Possession with Intent

to Manufacture and Distribute 50 or more Marihuana Plants, the government must prove

the following beyond a reasonable doubt:

        First:          That the defendant knowingly manufactured a controlled substance;

        Second:         That the substance was in fact marihuana; and

        Third:          That the quantity of the substance was at least 50 marihuana plants.

        Or:

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        First:          That the defendant knowingly possessed a controlled substance;

        Second:         That the substance was in fact marihuana;

        Third:          That the defendant possessed the substance with the intent to

manufacture or distribute it; and

        Fourth:         That the quantity of the substance was at least 50 marihuana plants.

        Count 2

        Title 21, United States Code, Section 856(a)(1), makes it a crime for anyone

knowingly to use or maintain any place for the purpose of manufacturing or distributing

any controlled substance.

        To establish that the defendant is guilty of Maintaining a Drug-Involved Premises,

the government must prove the following beyond a reasonable doubt:

        First:          That the defendant unlawfully and knowingly used or maintained a

place for the purpose of manufacturing or distributing a controlled substance.

        Count 3

        Title 18, United States Code, Section 924(c)(1), makes it a crime for anyone to

knowingly use or carry a firearm during and in relation to a drug trafficking crime or to

possess a firearm in furtherance of such a crime.

        To establish that the defendant is guilty of Possession of a Firearm in Furtherance

of a Drug Trafficking Crime, the government must prove the following beyond a

reasonable doubt:




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        First:          That the defendant committed the crime alleged in Count 2. Count 2

is a drug trafficking crime; and

        Second:         That the defendant knowingly possessed a firearm in furtherance of

the defendant’s commission of the crime charged in Count 2.


                                                   Respectfully submitted,

                                                   BRIT FEATHERSTON
                                                   ACTING U.S. ATTORNEY

                                                   /s/ Nathaniel C. Kummerfeld
                                                   NATHANIEL C. KUMMERFELD
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                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Elements of the Offense was served

on counsel of record for defendant via the court’s CM/ECF on this the 21st day of

November, 2017.

                                                   /s/ Nathaniel C. Kummerfeld
                                                   Nathaniel C. Kummerfeld




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